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 1   Steven Jay Katzman, State Bar No. 132755
     skatzman@bienertkatzman.com
 2   Anthony Bisconti, State Bar No. 269230
     tbisconti@bienertkatzman.com
 3   BIENERT | KATZMAN PC
     601 W. 5th Street, Suite 720
 4
     Los Angeles, California, 90071
 5   Telephone: (213) 528-3402
     Facsimile: (949) 369-3701
 6

 7   Counsel to Jesse Wayne Dawber
 8

 9
                                 UNITED STATES BANKRUPTCY COURT
10
                                 SOUTHERN DISTRICT OF CALIFORNIA
11

12   In re:                                          Case No. 18-06044-LT11

13   JESSE WAYNE DAWBER,                             [Jointly Administered with Case No. 19-00293-l211

14                                                   Chapter 11
                    Debtor.
15                                                   NOTICE REGARDING EMPLOYMENT OF
                                                     BIENERT | KATZMAN PC BY JESSE WAYNE
16                                                   DAWBER, CHAPTER 11 DEBTOR NOT IN
                                                     POSSESSION AND DISCLOSURE OF
17                                                   COMEPNSATION

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              NOTICE REGARDING EMPLOYMENT OF BIENERT | KATZMAN PC BY JESSE WAYNE DAWBER,
                  CHAPTER 11 DEBTOR NOT IN POSSESSION AND DISCLOSURE OF COMEPNSATION
     Case 18-06044-LT11        Filed 08/22/19     Entered 08/22/19 13:31:10         Doc 365     Pg. 2 of 4



 1          TO THE HONORABLE LAURA S. TAYLOR, UNITED STATES BANKRUPTCY

 2   JUDGE; THE OFFICE OF THE UNITED STATES TRUSTEE; THE CHAPTER 11 TRUSTEE;

 3   AND ALL OTHER PARTIES ENTITLED TO NOTICE:

 4          PLEASE TAKE NOTICE that the law firm Bienert | Katzman PC (“B|K”) has been retained by

 5   Jesse Wayne Dawber, the chapter 11 debtor not in possession in this case (“Mr. Dawber”), to consult

 6   with and advise him regarding his testimonial privileges and maters related to allegations concerning his

 7   statements and disclosures. B|K has not been retained by Mr. Dawber to represent him as bankruptcy

 8   counsel in this bankruptcy case, any lawsuit, or adversary proceeding. B|K has not been retained to serve

 9   as an estate professional. Accordingly, B|K does not intend to seek Court approval of its employment,

10   which is not required. See, e.g., In re Weibel, Inc., 176 B.R. 209, 212 (B.A.P. 9th Cir. 1994) (“When a

11   debtor is a debtor in possession, it essentially steps into the shoes of the trustee and has control over the

12   bankruptcy estate. The professional, employed now by the debtor in possession, is still expected to act

13   only in the best interests of the estate. Therefore, court approval of its employment is necessary. If the

14   debtor is not in possession, these same concerns do not come into play. Counsel for the debtor then, to

15   the extent it gets involved in the case, represents the debtor and not the estate or the creditors. Therefore,

16   court approval of employment is not necessary.”) (citations omitted).

17          PLEASE TAKE FURTHER NOTICE that B|K shall not receive compensation for its services

18   through estate property or property that would be estate property, nor shall B|K seek approval of

19   compensation through estate property. Prior to the filing of this notice, B|K has received a retainer

20   payment of $15,000 from a third-party source (Mr. Dawber’s family member).

21
     Dated: August 22, 2018                             BIENERT | KATZMAN PC
22
                                                        /s/ Anthony R. Bisconti
23                                                      Steven J. Katzman
24                                                      Anthony R. Bisconti
                                                        Attorneys for Jesse Wayne Dawber
25

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            NOTICE REGARDING EMPLOYMENT OF BIENERT | KATZMAN PC BY JESSE WAYNE DAWBER,
                CHAPTER 11 DEBTOR NOT IN POSSESSION AND DISCLOSURE OF COMEPNSATION
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         CSD 3010 [07/01/18]
         Name, Address, Telephone No. & I.D. No.
          Steven Jay Katzman (SBN 132755)
          Anthony R. Bisconti (SBN 269230)
          BIENERT|KATZMAN PC
          601 W. 5th Street, Ste. 720
          Los Angeles, CA 90071
          T: (213) 528-3402




                  UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
                  325 West F Street, San Diego, California 92101-6991

            In Re

            Jesse Wayne Dawber                                                            BANKRUPTCY NO. 18-06044-LT11
                                                                     Debtor.



                                                                                          ADVERSARY NO.
                                                                     Plaintiff(s)
            v.


                                                                     Defendant(s)



                                                               PROOF OF SERVICE

                  I, Anthony R. Bisconti                              am a resident of the State of California, over the age of 18 years,
            and not a party to this action.

                     On      August 22, 2019                      , I served the following documents:
 NOTICE REGARDING EMPLOYMENT OF BIENERT | KATZMAN PC BY JESSE WAYNE DAWBER, CHAPTER 11 DEBTOR NOT IN POSSESSION AND DISCLOSURE OF COMEPNSATION

             1.      To Be Served by the Court via Notice of Electronic Filing (“NEF”):

                    Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the
              court via NEF and hyperlink to the document. On August 22, 2019               , I checked the CM/ECF docket for
              this bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
              Notice List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:
Christine E. Baur christine@baurbklaw.com, admin@baurbklaw.com
Ron Bender rb@lnbyb.com, bry@lnbyb.com
Michael D. Breslauer mbreslauer@swsslaw.com, wyones@swsslaw.com
John W. Cutchin jcutchin@san.rr.com
Jesse S. Finlayson jfinlayson@ftrlfirm.com, bmendoza@ftrlfirm.com
Douglas Flahaut flahaut.douglas@arentfox.com
Lauren Nicole Gans lgans@shensonlawgroup.com, jshenson@shensonlawgroup.com
Todd S. Garan ch11ecf@aldridgepite.com, tgaran@aldridgepite.com;TSG@ecf.courtdrive.com
Christopher V. Hawkins hawkins@sullivanhill.com,
hill@sullivanhill.com;millerick@sullivanhill.com;bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy.com;hawkins@ecf.inforuptcy.com
Aram Ordubegian ordubegian.aram@arentfox.com
David Ortiz david.a.ortiz@usdoj.gov, USTP.REGION15@USDOJ.GOV;tiffany.l.carroll@usdoj.gov;Elizabeth.C.Amorosi@usdoj.gov
Michael L. Turrill michael.turrill@hoganlovells.com,
elizabeth.goncharov@hoganlovells.com;tiffany.dejonge@hoganlovells.com;jamie.wood@hoganlovells.com;LADocketing@hoganlovells.com
Donald A. Vaughn dav@vv-law.com, etopol@vv-law.com
Christopher K.S. Wong christopher.wong@arentfox.com
Beth Ann R. Young bry@lnbyb.com
                               For Chpt. 7, 11, & 12 cases:

                               UNITED STATES TRUSTEE
                               ustp.region15@usdoj.gov




         CSD 3010
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   2.      Served by United States Mail:

          On                                 , I served the following person(s) and/or entity(ies) at the last known
   address(es) in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in the
   United States Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:




   3.      Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

          Under Fed.R.Civ.P.5 and controlling LBR, on                                  , I served the following person(s)
   and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
   transmission, by overnight delivery and/or electronic mail as follows:




           I declare under penalty of perjury under the laws of the United States of America that the statements made
           in this proof of service are true and correct.



           Executed on     August 22, 2019                       /s/ Anthony R. Bisconti
                           (Date)                               (Typed Name and Signature)


                                                                601 W. 5th Street, Suite 720
                                                                (Address)

                                                                Los Angeles, CA 90071
                                                                (City, State, ZIP Code)




CSD 3010
